
652 S.E.2d 925 (2007)
STATE of North Carolina
v.
Marcos GUZMAN-PASCUAL.
No. 361P07.
Supreme Court of North Carolina.
October 11, 2007.
Daniel Read, Durham, for Marcos Guzman-Pascual.
Douglas Johnston, Special Deputy Attorney General, Thomas J. Keith, District Attorney, for State of NC.

ORDER
Upon consideration of the petition filed on the 24th day of July 2007 by Defendant in *926 this matter for discretionary review of the decision of the North Carolina Court of Appeals pursuant to G.S. 7A-31, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Denied by order of the Court in conference, this the 11th day of October 2007."
